Case1:99-cV-01260-.]DB-tmp Document 92 Filed 07/08/05 Pagelon E’ e|D 73

 

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UNITED STA TES I)ISTRICT COURT ““é’ \ " \
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EASTERN DIVISION ,a;;;»» \_ 213
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BERNELL S., JR., JUDGMENT IN A CIVIL C'ASE
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:99-1260-B
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ()RDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on .]uly 6, 2005, this cause is hereby dismissed with prejudice.

 

THOMASM.GOLH.D

Clerk of Court

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(By) Deputy Clerk

 

This document entered on the docket sheet In compiiance
with Rule 58 and,'or_?g (a) FRCP on

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Honorable J. Breen
US DISTRICT COURT

